              Case 1-18-42804-nhl         Doc 7    Filed 05/18/18      Entered 05/19/18 00:18:29

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                  Case No. 18-42804-nhl
Christopher L Shane                                                                     Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0207-1           User: csmall                 Page 1 of 2                   Date Rcvd: May 16, 2018
                               Form ID: 309A                Total Noticed: 46


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 18, 2018.
db             +Christopher L Shane,    606 Koscuiszko Street,      Apt. 2A,    Brooklyn, NY 11221-3033
smg            +NYC Department of Finance,    345 Adams Street,     Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,     Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9272026        +Allied Interstate,    Po Box 1954,    Southgate, MI 48195-0954
9272030        +Att Mobility,    Diversified Consultants Inc.,     Po Box 551268,    Jacksonville, FL 32255-1268
9272032        +Berman & Rabin PA,    15280 Metcalf Ave,    Overland Park, KS 66223-2811
9272036        +Citibank,   Centralized Bankruptcy,     Po Box 790034,    St Louis, MO 63179-0034
9272037        +Danira Munari,    355 South End Avenue,    Apt. 28K,    New York, NY 10280-1059
9272040        +EZ Pass Violation,    Processing,    Po Box 52005,    Newark, NJ 07101-8205
9272041        +First Data,    5565 Glenridge Connector,    North Easte,     Ste 2000,    Atlanta, GA 30342-4799
9272044        +Gross Fusco 55 Partners,    a/k/a GF55 Partners,     19 West 21st Street,
                 New York, NY 10010-6836
9272047        +Lewis Baach PLLC,    Kaufmann Middlemiss,    405 Lexington Avenue,      62nd Floor,
                 New York, NY 10174-6303
9272050        +MRS Associates Inc,    1930 Olney Avenue,    Cherry Hill, NJ 08003-2016
9272049        +Majory Rossin,    c/o Lewis Baach PLLC,    Kaufman Middlemiss,     405 Lexington Ave 62nd fl,
                 New York, NY 10174-6303
9272051        +NCB Mgmt Services Inc,    One Allied Drive,    Feasterville Trevose, PA 19053-6945
9272052        +Neal Mesnick, MD,    5 West 16th Street,    New York, NY 10011-6398
9272053        +Northstar Location Svcs,    4285 Genesee Street,     Buffalo, NY 14225-1943
9272054        +Nys Higher Ed Services,    99 Washington Ave,    Albany, NY 12210-2822
9272055        +Professional Claims,    Bureau, Inc,    PO Box 9060,    Hicksville, NY 11802-9060
9272056         Smith Carroad Levy & Wan,    5306 Jericho Turnpike,     Suite 201,     Commack, NY 11725
9272057        +Stonleigh Recovery,    Associates,    Po Box 1479,    Lombard, IL 60148-8479
9272063        +United Collection Bureau,    5620 Southwyck Blvd,     Suite 206,    Toledo, OH 43614-1501
9272064        +Velocity Investments LLC,    c/o Malen & Associates,     123 Frost Street,
                 Westbury, NY 11590-5030

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: lorna.lamotte@yahoo.com May 16 2018 18:32:31        Lorna J LaMotte,
                 The Law Offices of Lorna J LaMotte PLLC,     65 Broadway,    Suite 839,    New York, NY 10006
tr             +E-mail/Text: pereiraesq@pereiralaw.com May 16 2018 18:32:52        John S. Pereira,
                 Pereira & Sinisi, LLP,    641 Lexington Avenue,    13th Floor,    New York, NY 10022-4503
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 16 2018 18:33:30
                 NYS Department of Taxation & Finance,     Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov May 16 2018 18:32:47
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,     New York, NY 10014-9449
9272029         EDI: ARSN.COM May 16 2018 22:28:00      ARS National Services Inc,     PO Box 469100,
                 Escondido, CA 92046-9100
9272027        +EDI: AMEREXPR.COM May 16 2018 22:28:00       American Express,    Correspondence,    Po Box 981540,
                 El Paso, TX 79998-1540
9272028        +EDI: RMCB.COM May 16 2018 22:28:00      American Medical,     Collection Agency,
                 2269 S Saw Mill River Rd,    Bldg 3,   Elmsford, NY 10523-3848
9272031        +EDI: TSYS2.COM May 16 2018 22:28:00      Barclays Bank Delaware,     Attn: Correspondence,
                 Po Box 8801,    Wilmington, DE 19899-8801
9272034         EDI: CAPITALONE.COM May 16 2018 22:28:00       Capital One,    PO Box 71083,
                 Charlotte, NC 28272-1083
9272033        +EDI: CAPITALONE.COM May 16 2018 22:28:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
9272035        +EDI: CHASE.COM May 16 2018 22:28:00      Chase Card Services,     Correspondence Dept,
                 Po Box 15298,    Wilmington, DE 19850-5298
9272039        +EDI: RMCB.COM May 16 2018 22:28:00      EZ Pass,    c/o RMCB,    4 Westchester Plaza,    Ste 110,
                 Elmsford, NY 10523-1615
9272042        +EDI: FSAE.COM May 16 2018 22:28:00      First Source,    Advantage LLC,     205 Bryant Woods S,
                 Buffalo, NY 14228-3609
9272043        +E-mail/Text: bankruptcy@savit.com May 16 2018 18:33:35        GLSNY LLC,    c/o Savit Collection,
                 Po Box 250,    East Brunswick, NJ 08816-0250
9272045        +EDI: HFC.COM May 16 2018 22:28:00      HSBC,    Attn: Bankruptcy Dept,    Po Box 5213,
                 Carol Stream, IL 60197-5213
9272048        +EDI: RESURGENT.COM May 16 2018 22:28:00       LVNV Funding/,    Resurgent Capital,    Po Box 10497,
                 Greenville, SC 29603-0497
9272046        +E-mail/Text: bk@lendingclub.com May 16 2018 18:33:02        Lending Club Corp,    71 Stevenson St,
                 Suite 300,    San Francisco, CA 94105-2985
9272058        +EDI: STF1.COM May 16 2018 22:28:00      Suntrust Bank,     Attn: Bankruptcy,    Po Box 85092,
                 Mc Va-Wmrk-7952,    Richmond, VA 23285-5092
9272059        +EDI: RMSC.COM May 16 2018 22:28:00      Syncb/Care Credit,     950 Forrer Blvd,
                 Kettering, OH 45420-1469
9272060         EDI: TDBANKNORTH.COM May 16 2018 22:28:00       Td Bank North,    Attn: Bankruptcy,    Po Box 1190,
                 Lewston, ME 04243
                  Case 1-18-42804-nhl              Doc 7       Filed 05/18/18         Entered 05/19/18 00:18:29




District/off: 0207-1                  User: csmall                       Page 2 of 2                          Date Rcvd: May 16, 2018
                                      Form ID: 309A                      Total Noticed: 46


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
9272061        +E-mail/Text: marisa.sheppard@timepayment.com May 16 2018 18:32:53      Timepayment Corp, LLC.,
                 16 New England Executive,   Office Park S,    Burlington, MA 01803-5217
9272062        +EDI: ECMC.COM May 16 2018 22:28:00      U.S. Dept of Education,   Ecmc/Bankruptcy,
                 Po Box 16408,   Saint Paul, MN 55116-0408
9272038         EDI: USBANKARS.COM May 16 2018 22:28:00      Elan Financial Service,   Attn: Bankruptcy,
                 Po Box 5229,   Cincinnati, OH 45201
                                                                                             TOTAL: 23

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 18, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 16, 2018 at the address(es) listed below:
              John S. Pereira   pereiraesq@pereiralaw.com,
               N182@ecfcbis.com;asinisi@pereiralaw.com;lvu@pereiralaw.com
              Lorna J LaMotte   on behalf of Debtor Christopher L Shane lorna.lamotte@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 3
                Case 1-18-42804-nhl                   Doc 7        Filed 05/18/18               Entered 05/19/18 00:18:29


Information to identify the case:
Debtor 1              Christopher L Shane                                                       Social Security number or ITIN         xxx−xx−9866
                      First Name   Middle Name   Last Name                                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of New York
                                                                                                Date case filed for chapter 7 5/15/18
Case number:          1−18−42804−nhl


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                     Revised: 12/17


For the debtor(s) listed above, a case has been filed under Chapter 7 of the Bankruptcy Code. An order for relief has been entered. This notice
has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors and
deadlines. Read both pages carefully.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.

                                       About Debtor 1:                                           About Debtor 2:
1.Debtor's Full Name                   Christopher L Shane
2.All other names used in the          aka Christopher Lawrence Shane, aka Christopher
  last 8 years                         Shane
3.Address                              606 Koscuiszko Street
                                       Apt. 2A
                                       Brooklyn, NY 11221
4.Debtor's Attorney                    Lorna J LaMotte                                           Contact Phone 212−430−6516
                                       The Law Offices of Lorna J LaMotte PLLC                   Email: lorna.lamotte@yahoo.com
  Name and address                     65 Broadway
                                       Suite 839
                                       New York, NY 10006
5.Bankruptcy Trustee                   John S. Pereira                                           Contact Phone (212) 758−5777
                                       Pereira & Sinisi, LLP                                     Email: pereiraesq@pereiralaw.com
  Name and address                     641 Lexington Avenue
                                       13th Floor
                                       New York, NY 10022
6.Meeting of Creditors                 June 20, 2018 at 01:00 PM                                 Location:
                                                                                                 271−C Cadman Plaza East, Room 2579 −
                                                                                                 2nd Floor, Brooklyn, NY 11201−1800
7.Deadlines                            Deadline to Object to Discharge or to Challenge           Filing Deadline:   8/20/18
                                       Whether Certain Debts are Dischargeable:
  The Bankruptcy Clerk's Office must You must file a Complaint:
  receive these documents and any      • if you assert that the debtor is not entitled to        You must file a Motion:
  required filing fee by the following   receive a discharge of any debts under any of the       • if you assert that the discharge should be
  deadlines.                             subdivisions of 11 U.S.C. § 727(a)(2) through (7),        denied under § 727(a)(8) or (9).
                                         or
                                       • if you want to have a debt excepted from discharge
                                         under 11 U.S.C § 523(a)(2), (4), or (6).

                                       Deadline to Object to Exemptions:                         Filing Deadline: 30 days after the conclusion
                                       The law permits debtors to keep certain property as       of the meeting of creditors
                                       exempt. If you believe that the law does not authorize
                                       an exemption claimed, you may file an objection.


8.Presumption of Abuse                 If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11
                                       U.S.C. § 707(b). Debtors may rebut the presumption by showing special circumstances.
                                       The presumption of abuse does not arise.
9.Bankruptcy Clerk's Office            Address of the Bankruptcy Clerk's Office:                 Hours Open:
                                       271−C Cadman Plaza East, Suite 1595                       Monday − Friday 9:00 AM − 4:30 PM
                                       Brooklyn, NY 11201−1800
  Documents in this case may be filed
  at this address. You may inspect all Clerk of the Bankruptcy Court:
  records filed in this case at this                                                             Contact Phone (347) 394−1700
                                       Robert A. Gavin, Jr.
  office or online at www.pacer.gov.                                                             Date: 5/16/18
                                                                                                                   For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                      page 1
              Case 1-18-42804-nhl                   Doc 7        Filed 05/18/18             Entered 05/19/18 00:18:29

Debtor Christopher L Shane                                                                             Case number 1−18−42804−nhl
10. Legal Advice                        The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights,
                                        consult an attorney.

11. Creditors May Not Take              The filing of the case imposed an automatic stay against most collection activities. This
    Certain Actions                     means that creditors generally may not take action to collect debts from the debtors or the
                                        debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish
                                        wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
                                        Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors
                                        who violate the stay can be required to pay actual and punitive damages and attorney's fees.
                                        Under certain circumstances, the stay may be limited to 30 days or not exist at all, although
                                        debtors can ask the court to extend or impose a stay.

12. Meeting of Creditors                A meeting of creditors is scheduled for the date, time and location listed on the front side.
                                        Debtors must attend the meeting to be questioned under oath by the trustee and by creditors.
                                        In a joint case, both spouses must attend. Creditors may attend, but are not required to do
                                        so. The meeting may be continued and concluded at a later date specified in a notice filed
                                        with the court.

13. Proof of Claim                      Deadline for holder(s) of a claim secured by a security interest in the debtor(s)' principal
                                        residence (Rule 3002(c)(7)(A)):        Filing Deadline: 07/24/2018
                                        No property appears to be available to pay creditors. Therefore, other than claims secured by
                                        a security interest in the debtor(s)' principal residence, please do not file a proof of claim now.
                                        If it later appears that assets are available to pay creditors, the Clerk will send you another
                                        notice telling you that you may file a proof of claim and stating the deadline.
                                        Do not include this notice with any filing you make with the court.

14. Discharge of Debts                  The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to
                                        a discharge of any debts or who want to have a particular debt excepted from discharge may
                                        be required to file a complaint in the Bankruptcy Clerk's Office within the deadlines specified
                                        in this notice. (See line 7 for more information.)

15. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                        sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                        may inspect that list at the Bankruptcy Clerk's Office or online at www.pacer.gov. If you
                                        believe that the law does not authorize an exemption that the debtors claim, you may file an
                                        objection. The Bankruptcy Clerk's Office must receive the objection by the deadline to object
                                        to exemptions in line 7.

16. Creditors with a Foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    Address                             asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                        United States bankruptcy law if you have any questions about your rights in this case.

17. Option to Receive Notices           1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register
    Served by the Clerk by              for EBN at the BNC website ebn.uscourts.gov, or
    Email Instead of by U.S.            2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice
    Mail                                Request" with the Clerk of Court. Both options are FREE and allow the Clerk to quickly
                                        send you court−issued notices and orders by email.

18. Undeliverable Notices               Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility
                                        to obtain the parties correct address, resend the returned notice, and notify this office of the
                                        parties change of address. Failure to provide all parties with a copy of the notice may
                                        adversely affect the debtor as provided by the Bankruptcy Court.

19. Form 121 Statement of               The debtor or debtor's attorney is required to bring a paper copy of the petition with full social
    Social Security #                   security number displayed to the first meeting of creditors.

20. Personal Financial                  In order to receive a discharge, the debtor must complete a Personal Financial Management
    Management Course                   Course and must file a Certification About a Financial Management Course (Official Form
                                        423) within 60 days after the first date set for the section 341 meeting. If the Certification
                                        About a Financial Management Course is not filed within the allotted time, a discharge will
                                        not be issued and the case will be closed.


Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                              page 2
